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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

                                    )
                                    )
IN RE;                              )     Bankruptcy Case No. 23-14859-MER
SHILO SANDERS,                      )     Chapter 7
                                    )
                        Debtor      )
___________________________________ )
JOHN DARJEAN,                       )
Plaintiff,                          )
v.                                  )
                                    )
SHILO DION SANDERS                  )
Defendant.                          )     ADVERSARY NO. 2024-01022-MER
                                    )
                                    )
                                    )
______________________________________________________________________________

               ORDER GRANTING PLAINTIFF’S MOTION FOR
               EXTENSION OF TIME TO RESPOND TO SHILO DION
               SANDERS’ MOTION TO STRIKE PLAINTIFF JOHN
               DARJEAN’S JURY DEMAND (DOCKET NO. 12)
________________________________________________________________________

       This matter is before the court on Plaintiff’s Motion for Extension of Time to Respond to

Shilo Dion Sanders’ Motion to Strike Plaintiff John Darjean’s Jury Demand (Docket No. 12) (the

“Motion”).

       Upon due consideration and being fully advised in the premises, and good cause existing

for granting the request relief, the court hereby orders that

       the Motion is granted and Plaintiff John Darjean shall up to and including April 17, 2024

in which to file his response to the Motion.
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      Dated this 4th day of April, 2024.
                                           By the court:

                                           _________________________________
                                           Honorable Michael E. Romero
                                           United States Bankruptcy Judge
